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            
            GAMAGE & GAMAGE
             William H. Gamage, Esq.
            Nevada Bar No. 009024
            1775 Village Center Circle., Suite 190
            Las Vegas, Nevada 89134
            Telephone: (702) 386-9529
            Attorneys for Defendant Benjamin Galecki
                                                     
                                 UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEVADA
       
                                                **********
        

          UNITED STATES OF AMERICA
                                                      CASE NO. : 2:15-cr-00285-KJD-PAL-2
                                  Plantiff,

              vs.                                     UNOPPOSED MOTION TO EXTEND
                                                     DEFENDANT’S DEADLINE TO
          BENJAMIN GALECKI, et al.                   DISCLOSE EXPERT WITNESSES

                                 Defendant.          (FIRST REQUEST)

       

                   COMES NOW Defendant BENJAMIN GALECKI by and through CJA counsel

          and hereby timely files this Unopposed Motion to Extend Defendant’s Deadline to
          Disclose Expert Witnesses (First Request). This Motion is made and based upon the
       
            below justification, all papers and pleadings on file herein, along with any oral
       
            argument deemed necessary by this court:
       

                   1.   The current deadline for Defendants to disclose expert witnesses is

          November 23, 2016.

                   2.   Counsel has conferred with his client who does not object to this
       
            request for an extension.
       
                     3.   Counsel has conferred with co-defendant counsel on the selection of
       

          experts in an effort fully cover all areas of science needed to present cogent defenses

          for our respective clients.

       


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            
                4.     In October of 2016, Defendant’s Galecki and Ritchie were tried in the
       
           Eastern District of Virginia on the same violations of law as charged here related to
       
           operations of the business named in the instant Superseding Indictment.
       
                 5.     The 3 week trial in Virginia ended with a deadlocked jury unable to
       
           reach a decision based upon the complexity of the scientific issues similarly before
       
          this court.

       
                 6.     Counsel now respectfully requests a 2 week extension of time to
    
           disclose experts in this case in order to confer with co-defendant counsel to insure
       
            that our experts witnesses cover all necessary areas of science to support our clients’
       

          theories of defense.

                7.     This would make the deadline for defendant’s disclosure of expert
          witnesses December 7, 2016.
       
                  8.     On or about November 23, 2016, Counsel spoke with Government
       
            Counsel Brian Sardelli who agreed to the filing of this motion as ‘Unopposed’.
       

                9.     This Unopposed Motion is not brought for purposes of seeking an

          extension to the current trial date of February 6, 2016.
          ///
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          10.    This unopposed request for additional time is brought in good faith and
 
     not for purposes of delay or to prejudice any party.
 
           Dated this 23rd day of November, 2016.
 
                                             GAMAGE & GAMAGE
 
                                             /s/ William Gamage, Esq.
                                            ____________________________________
                                             William H. Gamage, Esq.
                                            Nevada Bar No. 009024
                                             1775 Village Center Circle., Suite 190
                                            Las Vegas, Nevada 89134
                                             Telephone: (702) 386-9529
                                            Attorneys for Defendant Benjamin Galecki


         IT IS SO ORDERED THIS UI day of/PWFNCFS 2016



                                           __________________________________________
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                                             Magistrate
                                              Magi  gist
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                                                             te  Distr     Court
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                                                                           C      Judge
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            
                                    CERTIFCATE OF SERVICE
       
                 I hereby certify that on or the 23rd day of November, 2016, the above and
       
           foregoing Unopposed Motion to Extend Defendant’s Deadline to Disclose Expert
       
           Witnesses (First Request) was served via the Court’s electronic filing system on all
       
           counsel registered to this case along with Government counsel as follows:
       
                      BRIAN G. SARDELLI
                       Dept. of Justice
                      145 N Street, NE
                       Second Floor, East Wing
                   Washington DC, DC 20530
                       PH: 202-598-2950
       
                        Email: brian.sardelli2@usdoj.gov
                      Counsel to the United States of America

                      JAMES E. KELLER
                        United States Attorney’s Office
       
                        100 West Liberty
                      Reno, NV 89501
                        PH: 775-784-5438
                      FX: 775-784-5181
                        Email: James.Keller3@usdoj.gov
                      Counsel to the United States of America
       

                                                /s/ William H. Gamage
                                                  __________________________________________
                                                EMPLOYEE OF GAMAGE & GAMAGE
       

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